425 F.2d 1082
    74 L.R.R.M. (BNA) 2224
    NATIONAL BUSINESS FORMS, INC., Petitioner,v.NATIONAL LABOR RELATIONS BOARD, Respondent, andInternational Printing Pressmen and Assistants Union ofNorth America, AFL-CIO, Intervenor, and SoutheasternPrinting Specialties and Paper Products District CouncilS-7, Affiliated with the International Printing Pressmen &amp;Assistants Union of North America, AFL-CIO, Intervenor.
    No. 19659.
    United States Court of Appeals, Sixth Circuit.
    May 7, 1970.
    
      Before CELEBREZZE and BROOKS, Circuit Judges, and McALLISTER, Senior Circuit Judge.
      AMENDED ORDER
      PER CURIAM.
    
    
      1
      This order is issued in clarification of the order heretofore issued by the court in this case.
    
    
      2
      The National Labor Relations Board found that the petitioner violated Section 8(a)(3) and (1) of the Act in refusing to reinstate certain strikers.  It rejected petitioner's defense that the striking members evidenced an intent not to return to work except as a group on the ground that unfair labor practice strikers are entitled to condition their offer to return to work upon their reinstatement as a group, and not to return on a piecemeal basis.  The Board, therefore, directed petitioner to offer the strikers immediate reinstatement and to make them whole for loss of pay after a specified date.
    
    
      3
      Subsequent to the filing of petitioner's brief in this case, the Board issued its decision in Southwestern Pipe, Inc., 179 NLRB No. 52, in which the Board held that an employer's failure to offer group reinstatement to unfair labor practice strikers on application does not subject him to immediate backpay liability as to those employees who were offered reinstatement, but rejected such offer because the employer had not made a similar offer to other strikers who were also entitled to immediate reinstatement.
    
    
      4
      On consideration, it is adjudged that the petition requesting the court to review the Board's order against it and to set aside the order in its entirety, is denied.
    
    
      5
      It is further adjudged that the Board's order, as entered, is hereby granted enforcement, except as to those provisions of the order calling for immediate reinstatement offers and backpay to strikers comparable to those involved in Southwestern Pipe, Inc., supra; and, as to the provisions of the Board's order relating to such immediate reinstatement offers and backpay to such specified strikers, the case is remanded to the National Labor Relations Board for further consideration in order to determine the applicability to this case of Southwestern Pipe, Inc., supra, decided by the Board subsequent to its decision and order in the present proceedings.
    
    